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11
12                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
13
                               SOUTHERN DIVISION
14
     ATEN INTERNATIONAL CO., )                   Case No. 2:15-cv-04424-AJG-AJW
15   LTD.,
                             )
16                           )                   JOINT DISPUTED (PROPOSED)
          Plaintiff,         )                   JURY INSTRUCTIONS AND
17
                             )                   OBJECTIONS
18                           )                   TRIAL START DATE: SEPT. 19, 2017
19        vs.                )
                             )                   COURTROOM: 10D
20   UNICLASS TECHNOLOGY CO.
     LTD., et al.,           )                   HON. ANDREW J. GUILFORD
21                           )
22                           )
          Defendants.
                             )
23                           )
24
25
26
27
28
                              Joint Disputed (Proposed) Jury Instructions
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 1               DISPUTED PRELIMINARY JURY INSTRUCTION NO. 3
 2
                               SUMMARY OF CONTENTIONS
 3
 4
     Plaintiff’s Proposed Instruction               Defendants’ Proposed Instruction
 5
     (Text)                                         (Text)
 6
 7   To help you follow the evidence, I will        To help you follow the evidence, I will
 8   now give you a summary of the positions        now give you a summary of the positions
 9   of the parties.                                of the parties.
10
11   The plaintiff in this case is ATEN             The plaintiff in this case is ATEN
12   International Co., Ltd., and the defendants International Co., Ltd., and the defendants
13   are Uniclass Technology Co., Ltd.,             are Uniclass Technology Co., Ltd.,
14   Electronic Technology Co., Ltd. of             Electronic Technology Co., Ltd. of
15   Dongguan Uniclass (referred to                 Dongguan Uniclass (referred to
16   collectively as “Uniclass”), Airlink 101,      collectively as “Uniclass”), Airlink 101,
17   Phoebe Micro Inc. (referred to                 Phoebe Micro Inc. (referred to
18   collectively as “Airlink”), Broadtech          collectively as “Airlink”), Broadtech
19   International Co., Ltd. D/B/A Linkskey         International Co., Ltd. D/B/A Linkskey
20   (“Linkskey”), Black Box Corporation, and (“Linkskey”), Black Box Corporation, and
21   Black Box Corporation of Pennsylvania          Black Box Corporation of Pennsylvania
22   (referred to collectively as “Blackbox”)       (referred to collectively as “Blackbox”)
23   (collectively “Defendants”).                   (collectively “Defendants”).
24
25   The case involves four (4) United States       The case involves four (4) United States
26   patents:                                       patents:
27      • U.S. Patent No. 7,640,289                     • U.S. Patent No. 7,640,289
28
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 1      • U.S. Patent No. 6,957,287                       • U.S. Patent No. 6,957,287
 2      • U.S. Patent No. 7,472,217                       • U.S. Patent No. 7,472,217
 3      • U.S. Patent No. 8,589,141                       • U.S. Patent No. 8,589,141
 4
 5   These patents are all assigned to ATEN.          These patents are all assigned to ATEN.
 6   For your convenience, the parties and I          For your convenience, the parties and I
 7   will often refer to these patents by the last    will often refer to these patents by the last
 8   three numbers of the patent number:              three numbers of the patent number:
 9      • U.S. Patent No. 7,640,289 is the                • U.S. Patent No. 7,640,289 is the
10             “’289 patent”                                     “’289 patent”
11      • U.S. Patent No. 6,957,287 is the                • U.S. Patent No. 6,957,287 is the
12             “’287 patent”                                     “’287 patent”
13      • U.S. Patent No. 7,472,217 is the                • U.S. Patent No. 7,472,217 is the
14             “’217 patent”                                     “’217 patent”
15      • U.S. Patent No. 8,589,141 is the                • U.S. Patent No. 8,589,141 is the
16             “’141 patent”                                     “’141 patent”
17
18   Also for your convenience, the parties and Also for your convenience, the parties and
19   I will often refer to all of the patents         I will often refer to all of the patents
20   together as the “Asserted Patents.”              together as the “Asserted Patents.”
21
22   ATEN filed suit in this court seeking            ATEN filed suit in this court seeking
23   money damages from the Defendants for            money damages from the Defendants for
24   allegedly infringing the Asserted Patents        allegedly infringing the Asserted Patents
25   by making, importing, using, selling,            by making, importing, using, selling,
26   offering for sale, into the United States        offering for sale, into the United States
27   KVM switches (where KVM means                    KVM switches (where KVM means
28
                                Joint Disputed (Proposed) Jury Instructions
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 1   keyboard, video monitor, and mouse) that        keyboard, video monitor, and mouse) that
 2   ATEN argues are covered by certain              ATEN argues are covered by certain
 3   claims of the Asserted Patents. ATEN            claims of the Asserted Patents. ATEN
 4   also argues that defendant Uniclass has         also argues that defendant Uniclass has
 5   actively induced infringement of these          actively induced infringement of these
 6   claims of the Asserted Patents by others        claims of the Asserted Patents by others
 7   and/or contributed to the infringement of       and/or contributed to the infringement of
 8   these claims of the Asserted Patents by         these claims of the Asserted Patents by
 9   others.                                         others.
10
11   The KVM switches that are alleged to            The KVM switches that are alleged to
12   infringe are:                                   infringe are:
13      1) UDV-TA2 representative product                1) UDV-TA2 representative product
14             a. Linked products include:                      a. Linked products include:
15                   USB-SP02A, USB-SP04A,                           USB-SP02A, USB-SP04A,
16                   UDP-TA2; UHV-TA2; USB-                          UDP-TA2; UHV-TA2; USB-
17                   TA2                                             TA2
18             b. Linked customer products                      b. Linked customer products
19                   include: Linkskey LDV-                          include: Linkskey LDV-
20                   302ARC, LKU-S02ASK,                             302ARC, LKU-S02ASK,
21                   LKU-S04ASK; Airlink                             LKU-S04ASK; Airlink
22                   AKVM-U22, AKVM-U42                              AKVM-U22, AKVM-U42
23      2) Prima T8 representative product               2) Prima T8 representative product
24             a. Linked products include:                      a. Linked products include:
25                   Prima T4 and T16                                Prima T4 and T16
26             b. Linked customer products               3) AD-CP02A representative product
27                   include: Linkskey LKV-                     a. Linked products include AD-
28
                               Joint Disputed (Proposed) Jury Instructions
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 1               9304, LKV-9308, and LKV-                         EP04A; AH-832A and 4A;
 2               9316                                             AI-832A and 4A; AL-832A
 3      3) AD-CP02A representative product                        and 4A; AP-832A and 4A;
 4            a. Linked products include AD-                      AD-202A and 204A; AH-
 5               EP04A; AH-832A and 4A;                           202A and 204A; AD-502D
 6               AI-832A and 4A; AL-832A                          and 504D; AD-502V and
 7               and 4A; AP-832A and 4A;                          504V; AD-702D and 704D;
 8               AD-202A and 204A; AH-                            AD-702V and 704V; AL-
 9               202A and 204A; AD-502D                           702D and 704D
10               and 504D; AD-502V and                        b. Linkskey LDV-242AUSK;
11               504V; AD-702D and 704D;                          Airlink AKVM-2UDA;
12               AD-702V and 704V; AL-                            Linkskey LDV-
13               702D and 704D                                    DM722AUSK, LDV-
14            b. Linkskey LDV-242AUSK;                            DM724AUSK, LDV-
15               Airlink AKVM-2UDA;                               DM712AUSK, LDV-
16               Linkskey LDV-                                    DM714AUSK
17               DM722AUSK, LDV-                       4) UKA-248 representative product
18               DM724AUSK, LDV-                              a. Linked customer products:
19               DM712AUSK, LDV-                                  Linkskey LKV248AUSK and
20               DM714AUSK                                        Black Box K7021AK
21      4) UKA-248 representative product          Defendants deny that they have infringed
22            a. Linked customer products:         the claims of the Asserted Patents. The
23               Linkskey LKV248AUSK and Defendants also argue that the claims are
24               Black Box K7021AK                 invalid. I will instruct you later as to the
25                                                 ways in which a patent may be invalid. In
26   Defendants deny that they have infringed      general, however, a patent is invalid if it is
27   the claims of the Asserted Patents. The       not new or is obvious in view of the state
28
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 1   Defendants also argue that the claims are        of the art at the relevant time, or if the
 2   invalid. I will instruct you later as to the     description in the patent does not meet
 3   ways in which a patent may be invalid. In certain requirements.
 4   general, however, a patent is invalid if it is
 5   not new or is obvious in view of the state       Your job will be to decide whether or not
 6   of the art at the relevant time, or if the       the claims of the Asserted Patents have
 7   description in the patent does not meet          been infringed and whether or not those
 8   certain requirements.                            claims are invalid. If you decide that any
 9                                                    claim has been infringed and is not
10   Your job will be to decide whether or not        invalid, you will then need to decide any
11   the claims of the Asserted Patents have          money damages to be awarded to ATEN
12   been infringed and whether or not those          to compensate it for the infringement.
13   claims are invalid. If you decide that any       You will also need to make a finding as to
14   claim has been infringed and is not              whether the infringement was willful. If
15   invalid, you will then need to decide any        you decide that any infringement was
16   money damages to be awarded to ATEN              willful, that decision should not affect any
17   to compensate it for the infringement.           damages award you give. I will take
18   You will also need to make a finding as to willfulness into account later.
19   whether the infringement was willful. If
20   you decide that any infringement was             Specifically, ATEN asserts that the
21   willful, that decision should not affect any Defendants infringe the following claims:
22   damages award you give. I will take                  • Claims 1-20 of the ’289 patent
23   willfulness into account later.                      • Claim 5 of the ’287 patent
24                                                        • Claims 1, 3, 4 of the ’217 patent
25   Specifically, ATEN asserts that the                  • Claims 3, 8, 10 of the ’141 patent
26   Defendants infringe the following claims:
27      • Claims 1-20 of the ’289 patent              Authorities: Fed. Cir. Bar Assoc., Model
28
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 1      • Claim 5 of the ’287 patent                Instructions No. A.2 (2016) (modified).
 2      • Claims 1, 3, 4 of the ’217 patent         _____ Given
 3      • Claims 3, 8, 10 of the ’141 patent        _____ Modified
 4                                                  _____ Denied
 5   Authorities: Fed. Cir. Bar Assoc., Model
 6   Instructions No. A.2 (2016) (modified).
 7   _____ Given
 8   _____ Modified
 9   _____ Denied
10
11
12
     Plaintiff’s Proposed Instruction               Defendants’ Proposed Instruction
13   (Redlined)                                     (Redlined)
14   To help you follow the evidence, I will        To help you follow the evidence, I will
15   now give you a summary of the positions        now give you a summary of the positions
16   of the parties.                                of the parties.
17
18   The plaintiff in this case is ATEN             The plaintiff in this case is ATEN
19   International Co., Ltd., and the defendants International Co., Ltd., and the defendants
20
     are Uniclass Technology Co., Ltd.,             are Uniclass Technology Co., Ltd.,
21
     Electronic Technology Co., Ltd. of             Electronic Technology Co., Ltd. of
22
     Dongguan Uniclass (referred to                 Dongguan Uniclass (referred to
23
     collectively as “Uniclass”), Airlink 101,      collectively as “Uniclass”), Airlink 101,
24
     Phoebe Micro Inc. (referred to                 Phoebe Micro Inc. (referred to
25
     collectively as “Airlink”), Broadtech          collectively as “Airlink”), Broadtech
26
     International Co., Ltd. D/B/A Linkskey         International Co., Ltd. D/B/A Linkskey
27
     (“Linkskey”), Black Box Corporation, and (“Linkskey”), Black Box Corporation, and
28
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 1   Black Box Corporation of Pennsylvania            Black Box Corporation of Pennsylvania
 2   (referred to collectively as “Blackbox”)         (referred to collectively as “Blackbox”)
 3   (collectively “Defendants”).                     (collectively “Defendants”).
 4
 5   The case involves four (4) United States         The case involves four (4) United States
 6   patents:                                         patents:
 7      • U.S. Patent No. 7,640,289                       • U.S. Patent No. 7,640,289
 8      • U.S. Patent No. 6,957,287                       • U.S. Patent No. 6,957,287
 9      • U.S. Patent No. 7,472,217                       • U.S. Patent No. 7,472,217
10      • U.S. Patent No. 8,589,141                       • U.S. Patent No. 8,589,141
11
12   These patents are all assigned to ATEN.          These patents are all assigned to ATEN.
13   For your convenience, the parties and I          For your convenience, the parties and I
14   will often refer to these patents by the last    will often refer to these patents by the last
15   three numbers of the patent number:              three numbers of the patent number:
16      • U.S. Patent No. 7,640,289 is the                • U.S. Patent No. 7,640,289 is the
17              “’289 patent”                                    “’289 patent”
18      • U.S. Patent No. 6,957,287 is the                • U.S. Patent No. 6,957,287 is the
19              “’287 patent”                                    “’287 patent”
20      • U.S. Patent No. 7,472,217 is the                • U.S. Patent No. 7,472,217 is the
21              “’217 patent”                                    “’217 patent”
22      • U.S. Patent No. 8,589,141 is the                • U.S. Patent No. 8,589,141 is the
23              “’141 patent”                                    “’141 patent”
24
25   Also for your convenience, the parties and Also for your convenience, the parties and
26   I will often refer to all of the patents         I will often refer to all of the patents
27   together as the “Asserted Patents.”              together as the “Asserted Patents.”
28
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1
2      ATEN filed suit in this court seeking           ATEN filed suit in this court seeking
3      money damages from the Defendants for           money damages from the Defendants for
4      allegedly infringing the Asserted Patents       allegedly infringing the Asserted Patents
5      by making, importing, using, selling,           by making, importing, using, selling,
6      offering for sale, into the United States       offering for sale, into the United States
7      KVM switches (where KVM means                   KVM switches (where KVM means
8      keyboard, video monitor, and mouse) that        keyboard, video monitor, and mouse) that
9      ATEN argues are covered by certain              ATEN argues are covered by certain
10     claims of the Asserted Patents. ATEN            claims of the Asserted Patents. ATEN
11     also argues that defendant Uniclass has         also argues that defendant Uniclass has
12     actively induced infringement of these          actively induced infringement of these
13     claims of the Asserted Patents by others        claims of the Asserted Patents by others
14     and/or contributed to the infringement of       and/or contributed to the infringement of
15     these claims of the Asserted Patents by         these claims of the Asserted Patents by
16     others.                                         others.
17
18     The KVM switches that are alleged to            The KVM switches that are alleged to
19     infringe are:                                   infringe are:
20        1) UDV-TA2 representative product                1) UDV-TA2 representative product
21               a. Linked products include:                      a. Linked products include:
22                     USB-SP02A, USB-SP04A,                           USB-SP02A, USB-SP04A,
23                     UDP-TA2; UHV-TA2; USB-                          UDP-TA2; UHV-TA2; USB-
24                     TA2                                             TA2
25               b. Linked customer products                      b. Linked customer products
26                     include: Linkskey LDV-                          include: Linkskey LDV-
27                     302ARC, LKU-S02ASK,                             302ARC, LKU-S02ASK,
28
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1                  LKU-S04ASK; Airlink                             LKU-S04ASK; Airlink
2                  AKVM-U22, AKVM-U42                              AKVM-U22, AKVM-U42
3         2) Prima T8 representative product            2) Prima T8 representative product
4               a. Linked products include:                    a. Linked products include:
5                  Prima T4 and T16                                Prima T4 and T16
6               a.b.     Linked customer                3) AD-CP02A representative product
7                  products include: Linkskey                  a. Linked products include AD-
8                  LKV-9304, LKV-9308, and                         EP04A; AH-832A and 4A;
9                  LKV-9316                                        AI-832A and 4A; AL-832A
10        3) AD-CP02A representative product                       and 4A; AP-832A and 4A;
11              a. Linked products include AD-                     AD-202A and 204A; AH-
12                 EP04A; AH-832A and 4A;                          202A and 204A; AD-502D
13                 AI-832A and 4A; AL-832A                         and 504D; AD-502V and
14                 and 4A; AP-832A and 4A;                         504V; AD-702D and 704D;
15                 AD-202A and 204A; AH-                           AD-702V and 704V; AL-
16                 202A and 204A; AD-502D                          702D and 704D
17                 and 504D; AD-502V and                       b. Linkskey LDV-242AUSK;
18                 504V; AD-702D and 704D;                         Airlink AKVM-2UDA;
19                 AD-702V and 704V; AL-                           Linkskey LDV-
20                 702D and 704D                                   DM722AUSK, LDV-
21              b. Linkskey LDV-242AUSK;                           DM724AUSK, LDV-
22                 Airlink AKVM-2UDA;                              DM712AUSK, LDV-
23                 Linkskey LDV-                                   DM714AUSK
24                 DM722AUSK, LDV-                      4) UKA-248 representative product
25                 DM724AUSK, LDV-                             a. Linked customer products:
26                 DM712AUSK, LDV-                                 Linkskey LKV248AUSK,
27                 DM714AUSK                                       and Black Box K7021AK
28
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1         4) UKA-248 representative product             Defendants deny that they have infringed
2                a. Linked customer products:           the claims of the Asserted Patents. The
3                    Linkskey LKV248AUSK,               Defendants also argue that the claims are
4                    and Black Box KV7021AK.            invalid. I will instruct you later as to the
5                                                       ways in which a patent may be invalid. In
6      Defendants deny that they have infringed         general, however, a patent is invalid if it is
7      the claims of the Asserted Patents. The          not new or is obvious in view of the state
8      Defendants also argue that the claims are        of the art at the relevant time, or if the
9      invalid. I will instruct you later as to the     description in the patent does not meet
10     ways in which a patent may be invalid. In certain requirements.
11     general, however, a patent is invalid if it is
12     not new or is obvious in view of the state       Your job will be to decide whether or not
13     of the art at the relevant time, or if the       the claims of the Asserted Patents have
14     description in the patent does not meet          been infringed and whether or not those
15     certain requirements.                            claims are invalid. If you decide that any
16                                                      claim has been infringed and is not
17     Your job will be to decide whether or not        invalid, you will then need to decide any
18     the claims of the Asserted Patents have          money damages to be awarded to ATEN
19     been infringed and whether or not those          to compensate it for the infringement.
20     claims are invalid. If you decide that any       You will also need to make a finding as to
21     claim has been infringed and is not              whether the infringement was willful. If
22     invalid, you will then need to decide any        you decide that any infringement was
23     money damages to be awarded to ATEN              willful, that decision should not affect any
24     to compensate it for the infringement.           damages award you give. I will take
25     You will also need to make a finding as to willfulness into account later.
26     whether the infringement was willful. If
27     you decide that any infringement was             Specifically, ATEN asserts that the
28
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1      willful, that decision should not affect any Defendants infringe the following claims:
2      damages award you give. I will take                 • Claims 1-20 of the ’289 patent
3      willfulness into account later.                     • Claim 5 of the ’287 patent
4                                                          • Claims 1, 3, 4 of the ’217 patent
5      Specifically, ATEN asserts that the                 • Claims 3, 8, 10 of the ’141 patent
6      Defendants infringe the following claims:
7         • Claims 1-20 of the ’289 patent             Authorities: Fed. Cir. Bar Assoc., Model
8         • Claim 5 of the ’287 patent                 Instructions No. A.2 (2016) (modified).
9         • Claims 1, 3, 4 of the ’217 patent          _____ Given
10        • Claims 3, 8, 10 of the ’141 patent         _____ Modified
11                                                     _____ Denied
12     Authorities: Fed. Cir. Bar Assoc., Model
13     Instructions No. A.2 (2016) (modified).
14     _____ Given
15     _____ Modified
16     _____ Denied
17
18
19     Plaintiff’s Points and Authorities

20     The Prima T customer products (LKV 9304, 9308 and 9316) were analyzed by Dr.

21     Lavian in the claim charts to his expert report (trial exhibits 126 and 128). They were

22     described as Prima T products and were not rebranded as Prima A products.

23     Defendants have had notice of these products since Dr. Lavian’s report was issued in

24     December 2016.

25
26     Defendants’ Points and Authorities

27     ATEN’s position that Uniclass’s customer, and co-defendant, Linkskey’s LKV-9304,

28     LKV-9308, and LKV-9316 products (“LKV” products) are just rebranded Uniclass
                                 Joint Disputed (Proposed) Jury Instructions
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1      Prima T4, Prima T8, and Prima T16 (“Prima T” products) is erroneous and, if accepted
2      less than a week before the start of trial, would severely prejudice Defendants.
3
4      The Linkskey LKV-9304, LKV-9308, and LKV-9316 products are not rebranded
5      Uniclass Prima T4, Prima T8, and Prima T16 products respectively, but are rebranded
6      Uniclass Prima 4, Prima 8, and Prima 16 products. The “Prima T” and “Prima”
7      products are not the same because they have significantly different architecture and
8      design. On February 27, 2017, Defendants specifically pointed out and described the
9      distinction between the “Prima T” and the “Prima,” or rebranded “LKV,” products in
10     their Motion and Memorandum to Exclude Expert Opinions and Testimony of ATEN’s
11     technical expert, Dr. Lavian. (See Dkt. 322 and 322-1).
12
13     Thereafter, on March 24, 2017, and in response to the Court’s direction in its Order on
14     Defendants Motion to Strike, (Dkt. 345), the parties submitted a report of their
15     respective groupings of proposed representative and linked products. See Dkt. 350. In
16     this report, ATEN only identified the “Prima T” products in its groups 3 and 4
17     products. However, ATEN stated in respect to its groups 3 and 4:
18           The Group 3 and 4 products differ only in number of ports, and otherwise
19           have identical functionality (8 ports for the Prima T8, 4 ports for the
20           Prima T4, and 16 ports for the Prima T16). (Ex. P2; see generally Dkt.
21           336, Ex. 3-1, Ex. 4-1A, and 4-1B.) Uniclass markets these products
22           together as a related family. (Ex. P2.) Uniclass objects to the naming of
23           the Prima T products as opposed to the Prima products, but Uniclass itself
24           conflates these product names. (See, e.g., Ex. P4.
25     Although recognizing these differences, ATEN failed to identify the “LKV” or
26     “Prima” products anywhere in the parties’ joint submission on March 24, 2017.
27
28
                                Joint Disputed (Proposed) Jury Instructions
                                    Case No. 2:15-cv-04424-AJG-AJW
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1      Further, the dispute between the “Prima T” products and the “Prima”/“LKV” products
2      was decided by the Court in its order granting in part Defendants Motion to Strike
3      (Dkt. 345). In its Order the Court stated:
4            Uniclass’s motion to strike is GRANTED as to portions of [Dr. Lavian’s]
5            expert report that present new infringement theories or new accused
6            products that depart substantially from ATEN’s Original Contentions. For
7            consistency, any portions of Defendants’ expert report that constitute new
8            invalidity theories (not disclosed in the original invalidity contentions)
9            must be stricken as well.
10           Because the parties are in the best position to differentiate the old from
11           the new, the Court orders the ATEN and Uniclass to meet and confer on
12           the particular portions of the expert reports to be stricken. To the extent
13           the parties are unable to agree, the parties shall submit a joint report (not
14           to exceed 5 pages) by March 24, 2017, setting forth the specific dispute
15           and the parties’ respective positions.
16     (Dkt. 345 at 6 (underline emphasis added).
17
18     Also, ATEN did not identify the products it accused, or raised this dispute, in the
19     parties’ jointly filed “Final Pretrial Conference Order,” at dkt. 374-1, that the Court
20     then adopted as the Final Pretrial Conference Oder at dkt. 394.
21
22     ATEN took no discovery on the “Prima”/“LKV” products that it now attempts to
23     include as accused products, and will have nothing to present at trial. If ATEN
24     attempts to pass off the “Prima T” financials and product information it did conduct
25     discovery on, for “Prima”/“LKV” products, the prejudice will be irreparable.
26
27
28
                                 Joint Disputed (Proposed) Jury Instructions
                                     Case No. 2:15-cv-04424-AJG-AJW
                                                    - 13 -
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1      ATEN’s statement that “Defendants have had notice of these products since Dr.
2      Lavian’s report was issued in December 2016” does not support its position but rather
3      demonstrates the severe prejudice Defendants will face if ATEN is now permitted to
4      include the “Prima”/“LKV” products as accused products. Indeed, ATEN only put
5      Defendants on notice of its infringement allegations against the “Prima”/“LKV”
6      products in Dr. Lavian’s December 2016 report that issued five (5) months after fact
7      discovery closed. Thus, Defendants have been deprived of taking fact discovery on
8      ATEN’s new position.
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                               Joint Disputed (Proposed) Jury Instructions
                                   Case No. 2:15-cv-04424-AJG-AJW
                                                  - 14 -
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1                        DISPUTED FINAL JURY INSTRUCTION NO. 15
2
                                   SUMMARY OF CONTENTIONS
3
4
       Plaintiff’s Proposed Instruction                  Defendants’ Proposed Instruction
5
       (Text)                                            (Text)
6
7      As I did at the start of the case, I will first   As I did at the start of the case, I will first
8      give you a summary of each side’s                 give you a summary of each side’s
9      contentions in this case. I will then             contentions in this case. I will then
10     provide you with detailed instructions on         provide you with detailed instructions on
11     what each side must prove to win on each          what each side must prove to win on each
12     of its contentions.                               of its contentions.
13
14     As I previously told you, ATEN seeks              As I previously told you, ATEN seeks
15     money damages from the Defendants for             money damages from the Defendants for
16     allegedly infringing the Asserted Patents         allegedly infringing the Asserted Patents
17     by making, importing, using, selling, and         by making, importing, using, selling, and
18     offering for sale KVM switches that               offering for sale KVM switches that
19     ATEN argues are covered by claims of the ATEN argues are covered by claims of the
20     Asserted Patents. These are the asserted          Asserted Patents. These are the asserted
21     claims:                                           claims:
22         Claims 1-20 of the ’289 patent                    Claims 1-20 of the ’289 patent
23         Claim 5 of the ’287 patent                        Claim 5 of the ’287 patent
24         Claims 1, 3, 4 of the ’217 patent                 Claims 1, 3, 4 of the ’217 patent
25         Claims 3, 8, 10 of the ’141 patent                Claims 3, 8, 10 of the ’141 patent
26
       ATEN also argues that the Defendants              ATEN also argues that the Defendants
27
       have actively induced infringement of             have actively induced infringement of
28
                                   Joint Disputed (Proposed) Jury Instructions
                                       Case No. 2:15-cv-04424-AJG-AJW
                                                      - 15 -
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1      certain claims of the Asserted Patents by        certain claims of the Asserted Patents by
2      others and contributed to the infringement       others and contributed to the infringement
3      of these claims of the Asserted Patents by       of these claims of the Asserted Patents by
4      others. The KVM switches that are                others. The KVM switches that are
5      alleged to infringe are:                         alleged to infringe are:
6         1) UDV-TA2 representative product                1) UDV-TA2 representative product
7                a. Linked products include:                       a. Linked products include:
8                   USB-SP02A, USB-SP04A,                              USB-SP02A, USB-SP04A,
9                   UDP-TA2; UHV-TA2; USB-                             UDP-TA2; UHV-TA2; USB-
10                  TA2                                                TA2
11               b. Linked customer products                       b. Linked customer products
12                  include: Linkskey LDV-                             include: Linkskey LDV-
13                  302ARC, LKU-S02ASK,                                302ARC, LKU-S02ASK,
14                  LKU-S04ASK; Airlink                                LKU-S04ASK; Airlink
15                  AKVM-U22, AKVM-U42                                 AKVM-U22, AKVM-U42
16        2) Prima T8 representative product                2) Prima T8 representative product
17               a. Linked products include:                        a. Linked products include:
18                  Prima T4 and T16                                   Prima T4 and T16
19               b. Linked customer products                3) AD-CP02A representative product
20                  include: Linkskey LKV-                          a. Linked products include AD-
21                  9304, LKV-9308, and LKV-                           EP04A; AH-832A and 4A;
22                  9316                                               AI-832A and 4A; AL-832A
23        3) AD-CP02A representative product                           and 4A; AP-832A and 4A;
24               a. Linked products include AD-                        AD-202A and 204A; AH-
25                  EP04A; AH-832A and 4A;                             202A and 204A; AD-502D
26                  AI-832A and 4A; AL-832A                            and 504D; AD-502V and
27                  and 4A; AP-832A and 4A;                            504V; AD-702D and 704D;
28
                                  Joint Disputed (Proposed) Jury Instructions
                                      Case No. 2:15-cv-04424-AJG-AJW
                                                     - 16 -
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1                   AD-202A and 204A; AH-                               AD-702V and 704V; AL-
2                   202A and 204A; AD-502D                              702D and 704D
3                   and 504D; AD-502V and                        b.     Linkskey LDV-242AUSK;
4                   504V; AD-702D and 704D;                             Airlink AKVM-2UDA;
5                   AD-702V and 704V; AL-                               Linkskey LDV-
6                   702D and 704D                                       DM722AUSK, LDV-
7                b. Linkskey LDV-242AUSK;                               DM724AUSK, LDV-
8                   Airlink AKVM-2UDA;                                  DM712AUSK, LDV-
9                   Linkskey LDV-                                       DM714AUSK
10                  DM722AUSK, LDV-                            4) UKA-248 representative product
11                  DM724AUSK, LDV-                                   a. Linked customer products:
12                  DM712AUSK, LDV-                                     Linkskey LKV248AUSK
13                  DM714AUSK                                           and Black Box K7021AK
14        4) UKA-248 representative product
15               a. Linked customer products:          The Defendants deny that they infringe
16                  Linkskey LKV248AUSK,               the claims of the Asserted Patents and
17                  and Black Box KV7021AK             argue that, in addition, the claims of the
18                                                     Asserted Patents are invalid.
19     The Defendants deny that they infringe
20     the claims of the Asserted Patents and          Your job is to decide whether the
21     argue that, in addition, the claims of the      Defendants have infringed the asserted
22     Asserted Patents are invalid.                   claims of the Asserted Patents and
23                                                     whether any of the asserted claims of the
24     Your job is to decide whether the               Asserted Patents are invalid. If you
25     Defendants have infringed the asserted          decide that any claim of the Asserted
26     claims of the Asserted Patents and              Patents has been infringed and is not
27     whether any of the asserted claims of the       invalid, you will then need to decide any
28
                                 Joint Disputed (Proposed) Jury Instructions
                                     Case No. 2:15-cv-04424-AJG-AJW
                                                    - 17 -
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1      Asserted Patents are invalid. If you              money damages to be awarded to ATEN
2      decide that any claim of the Asserted             to compensate it for the infringement.
3      Patents has been infringed and is not             You will also need to make a finding as to
4      invalid, you will then need to decide any         whether the infringement was willful. If
5      money damages to be awarded to ATEN               you decide that any infringement was
6      to compensate it for the infringement.            willful, that decision should not affect any
7      You will also need to make a finding as to damages award you make. I will take
8      whether the infringement was willful. If          willfulness into account later.
9      you decide that any infringement was
10     willful, that decision should not affect any Authorities: Fed. Cir. Bar Assoc., Model
11     damages award you make. I will take               Instructions No. B.1 (2016) (modified).
12     willfulness into account later.                   _____ Given
13                                                       _____ Modified
14     Authorities: Fed. Cir. Bar Assoc., Model          _____ Denied
15     Instructions No. B.1 (2016) (modified).
16     _____ Given
17     _____ Modified
18     _____ Denied
19
20
21
       Plaintiff’s Proposed Instruction                  Defendants’ Proposed Instruction
22     (Redlined)                                        (Redlined)
23
       As I did at the start of the case, I will first   As I did at the start of the case, I will first
24
       give you a summary of each side’s                 give you a summary of each side’s
25
       contentions in this case. I will then             contentions in this case. I will then
26
       provide you with detailed instructions on         provide you with detailed instructions on
27
       what each side must prove to win on each          what each side must prove to win on each
28
                                   Joint Disputed (Proposed) Jury Instructions
                                       Case No. 2:15-cv-04424-AJG-AJW
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1      of its contentions.                              of its contentions.
2
3      As I previously told you, ATEN seeks             As I previously told you, ATEN seeks
4      money damages from the Defendants for            money damages from the Defendants for
5      allegedly infringing the Asserted Patents        allegedly infringing the Asserted Patents
6      by making, importing, using, selling, and        by making, importing, using, selling, and
7      offering for sale KVM switches that              offering for sale KVM switches that
8      ATEN argues are covered by claims of the ATEN argues are covered by claims of the
9      Asserted Patents. These are the asserted         Asserted Patents. These are the asserted
10     claims:                                          claims:
11         Claims 1-20 of the ’289 patent                   Claims 1-20 of the ’289 patent
12         Claim 5 of the ’287 patent                       Claim 5 of the ’287 patent
13
           Claims 1, 3, 4 of the ’217 patent                Claims 1, 3, 4 of the ’217 patent
14
           Claims 3, 8, 10 of the ’141 patent               Claims 3, 8, 10 of the ’141 patent
15
       ATEN also argues that the Defendants             ATEN also argues that the Defendants
16
       have actively induced infringement of            have actively induced infringement of
17
       certain claims of the Asserted Patents by        certain claims of the Asserted Patents by
18
       others and contributed to the infringement       others and contributed to the infringement
19
       of these claims of the Asserted Patents by       of these claims of the Asserted Patents by
20
       others. The KVM switches that are                others. The KVM switches that are
21
       alleged to infringe are:                         alleged to infringe are:
22
          1)     UDV-TA2 representative product             1)    UDV-TA2 representative product
23
                  a. Linked products include:                      a. Linked products include:
24
                  USB-SP02A, USB-SP04A,                            USB-SP02A, USB-SP04A,
25
                  UDP-TA2; UHV-TA2; USB-                           UDP-TA2; UHV-TA2; USB-
26
                  TA2                                              TA2
27
                 b. Linked customer products                      b. Linked customer products
28
                                  Joint Disputed (Proposed) Jury Instructions
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1               include: Linkskey LDV-                          include: Linkskey LDV-
2               302ARC, LKU-S02ASK, LKU-                        302ARC, LKU-S02ASK, LKU-
3               S04ASK; Airlink AKVM-U22,                       S04ASK; Airlink AKVM-U22,
4               AKVM-U42                                        AKVM-U42
5         2)   Prima T8 representative product           2) Prima T8 representative product
6               a. Linked products include:                     a. Linked products include:
7               Prima T4 and T16                                Prima T4 and T16
8               b. Linked customer products              3). AD-CP02A representative product
9               include: Linkskey LKV-9304,                     a. Linked products include AD-
10              LKV-9308, and LKV-9316                          EP04A; AH-832A and 4A; AI-
11        3). AD-CP02A representative product                   832A and 4A; AL-832A and
12              a. Linked products include AD-                  4A; AP-832A and 4A; AD-
13              EP04A; AH-832A and 4A; AI-                      202A and 204A; AH-202A and
14              832A and 4A; AL-832A and                        204A; AD-502D and 504D; AD-
15              4A; AP-832A and 4A; AD-                         502V and 504V; AD-702D and
16              202A and 204A; AH-202A and                      704D; AD-702V and 704V; AL-
17              204A; AD-502D and 504D; AD-                     702D and 704D
18              502V and 504V; AD-702D and                      c. Linkskey LDV-242AUSK;
19              704D; AD-702V and 704V; AL-                     Airlink AKVM-2UDA;
20              702D and 704D                                   Linkskey LDV-DM722AUSK,
21              b. Linkskey LDV-242AUSK;                        LDV-DM724AUSK, LDV-
22              Airlink AKVM-2UDA;                              DM712AUSK, LDV-
23              Linkskey LDV-DM722AUSK,                         DM714AUSK
24              LDV-DM724AUSK, LDV-                      4). UKA-248 representative product
25              DM712AUSK, LDV-                                 a. Linked customer products:
26              DM714AUSK                                       Linkskey LKV248AUSK, and
27        4). UKA-248 representative product                    Black Box K7021AK
28
                               Joint Disputed (Proposed) Jury Instructions
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                                                  - 20 -
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1                a. Linked customer products:          The Defendants deny that they infringe
2                Linkskey LKV248AUSK, and              the claims of the Asserted Patents and
3                Black Box KV7021AK                    argue that, in addition, the claims of the
4      The Defendants deny that they infringe          Asserted Patents are invalid.
5      the claims of the Asserted Patents and
6      argue that, in addition, the claims of the      Your job is to decide whether the
7      Asserted Patents are invalid.                   Defendants have infringed the asserted
8                                                      claims of the Asserted Patents and
9      Your job is to decide whether the               whether any of the asserted claims of the
10     Defendants have infringed the asserted          Asserted Patents are invalid. If you
11     claims of the Asserted Patents and              decide that any claim of the Asserted
12     whether any of the asserted claims of the       Patents has been infringed and is not
13     Asserted Patents are invalid. If you            invalid, you will then need to decide any
14     decide that any claim of the Asserted           money damages to be awarded to ATEN
15     Patents has been infringed and is not           to compensate it for the infringement.
16     invalid, you will then need to decide any       You will also need to make a finding as to
17     money damages to be awarded to ATEN             whether the infringement was willful. If
18     to compensate it for the infringement.          you decide that any infringement was
19     You will also need to make a finding as to willful, that decision should not affect any
20     whether the infringement was willful. If        damages award you make. I will take
21     you decide that any infringement was            willfulness into account later.
22     willful, that decision should not affect any
23     damages award you make. I will take             Authorities: Fed. Cir. Bar Assoc., Model
24     willfulness into account later.                 Instructions No. B.1 (2016) (modified).
25                                                     _____ Given
26     Authorities: Fed. Cir. Bar Assoc., Model        _____ Modified
27     Instructions No. B.1 (2016) (modified).         _____ Denied
28
                                 Joint Disputed (Proposed) Jury Instructions
                                     Case No. 2:15-cv-04424-AJG-AJW
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1      _____ Given
2      _____ Modified
3      _____ Denied
4
5
6
       Plaintiff’s Points and Authorities
7
       The Prima T customer products (LKV 9304, 9308 and 9316) were analyzed by Dr.
8
       Lavian in the claim charts to his expert report (trial exhibits 126 and 128). They were
9
       described as Prima T products and were not rebranded as Prima A products.
10
       Defendants have had notice of these products since Dr. Lavian’s report was issued in
11
       December 2016.
12
13
14     Defendants’ Points and Authorities

15     ATEN’s position that Uniclass’s customer, and co-defendant, Linkskey’s LKV-9304,

16     LKV-9308, and LKV-9316 products (“LKV” products) are just rebranded Uniclass

17     Prima T4, Prima T8, and Prima T16 (“Prima T” products) is erroneous and, if accepted

18     less than a week before the start of trial, would severely prejudice Defendants.

19
20     The Linkskey LKV-9304, LKV-9308, and LKV-9316 products are not rebranded

21     Uniclass Prima T4, Prima T8, and Prima T16 products respectively, but are rebranded

22     Uniclass Prima 4, Prima 8, and Prima 16 products. The “Prima T” and “Prima”

23     products are not the same because they have significantly different architecture and

24     design. On February 27, 2017, Defendants specifically pointed out and described the

25     distinction between the “Prima T” and the “Prima,” or rebranded “LKV,” products in

26     their Motion and Memorandum to Exclude Expert Opinions and Testimony of ATEN’s

27     technical expert, Dr. Lavian. (See Dkt. 322 and 322-1).

28
                                Joint Disputed (Proposed) Jury Instructions
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1      Thereafter, on March 24, 2017, and in response to the Court’s direction in its Order on
2      Defendants Motion to Strike, (Dkt. 345), the parties submitted a report of their
3      respective groupings of proposed representative and linked products. See Dkt. 350. In
4      this report, ATEN only identified the “Prima T” products in its groups 3 and 4
5      products. However, ATEN stated in respect to its groups 3 and 4:
6            The Group 3 and 4 products differ only in number of ports, and otherwise
7            have identical functionality (8 ports for the Prima T8, 4 ports for the
8            Prima T4, and 16 ports for the Prima T16). (Ex. P2; see generally Dkt.
9            336, Ex. 3-1, Ex. 4-1A, and 4-1B.) Uniclass markets these products
10           together as a related family. (Ex. P2.) Uniclass objects to the naming of
11           the Prima T products as opposed to the Prima products, but Uniclass itself
12           conflates these product names. (See, e.g., Ex. P4.
13     Although recognizing these differences, ATEN failed to identify the “LKV” or
14     “Prima” products anywhere in the parties’ joint submission on March 24, 2017.
15
16     Further, the dispute between the “Prima T” products and the “Prima”/“LKV” products
17     was decided by the Court in its order granting in part Defendants Motion to Strike
18     (Dkt. 345). In its Order the Court stated:
19           Uniclass’s motion to strike is GRANTED as to portions of [Dr. Lavian’s]
20           expert report that present new infringement theories or new accused
21           products that depart substantially from ATEN’s Original Contentions. For
22           consistency, any portions of Defendants’ expert report that constitute new
23           invalidity theories (not disclosed in the original invalidity contentions)
24           must be stricken as well.
25           Because the parties are in the best position to differentiate the old from
26           the new, the Court orders the ATEN and Uniclass to meet and confer on
27           the particular portions of the expert reports to be stricken. To the extent
28
                                 Joint Disputed (Proposed) Jury Instructions
                                     Case No. 2:15-cv-04424-AJG-AJW
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1            the parties are unable to agree, the parties shall submit a joint report (not
2            to exceed 5 pages) by March 24, 2017, setting forth the specific dispute
3            and the parties’ respective positions.
4      (Dkt. 345 at 6 (underline emphasis added).
5
6      Also, ATEN did not identify the products it accused, or raised this dispute, in the
7      parties’ jointly filed “Final Pretrial Conference Order,” at dkt. 374-1, that the Court
8      then adopted as the Final Pretrial Conference Oder at dkt. 394.
9
10     ATEN took no discovery on the “Prima”/“LKV” products that it now attempts to
11     include as accused products, and will have nothing to present at trial. If ATEN
12     attempts to pass off the “Prima T” financials and product information it did conduct
13     discovery on, for “Prima”/“LKV” products, the prejudice will be irreparable.
14
15     ATEN’s statement that “Defendants have had notice of these products since Dr.
16     Lavian’s report was issued in December 2016” does not support its position but rather
17     demonstrates the severe prejudice Defendants will face if ATEN is now permitted to
18     include the “Prima”/“LKV” products as accused products. Indeed, ATEN only put
19     Defendants on notice of its infringement allegations against the “Prima”/“LKV”
20     products in Dr. Lavian’s December 2016 report that issued five (5) months after fact
21     discovery closed. Thus, Defendants have been deprived of taking fact discovery on
22     ATEN’s new position.
23
24
25
26
27
28
                                 Joint Disputed (Proposed) Jury Instructions
                                     Case No. 2:15-cv-04424-AJG-AJW
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1                       DISPUTED FINAL JURY INSTRUCTION NO. 25
2                              INVALIDITY—BURDEN OF PROOF
3
4
       Plaintiff’s Proposed Instruction                 Defendants’ Proposed Instruction
5      (Text)                                           (Text)
6
7      I will now instruct you on the rules you         I will now instruct you on the rules you
8      must follow in deciding whether or not the must follow in deciding whether or not the
9      Defendants have proven that claims of the        Defendants have proven that claims of the
10     Asserted Patents are invalid. A patent           Asserted Patents are invalid. To prove that
11     claim is presumed to be valid. To prove          any claim of a patent is invalid, the
12     that any claim of a patent is invalid, the       Defendants must persuade you by clear
13     Defendants must persuade you by clear            and convincing evidence, i.e., you must be
14     and convincing evidence. That is you             left with a clear conviction that the claim
15     must be left with a clear conviction that        is invalid or you must find that the claim
16     the claim is invalid or you must find that       is valid.
17     the claim remains valid.
18                                                      Authorities: Fed. Cir. Bar Assoc., Model
19     Authorities: Fed. Cir. Bar Assoc., Model         Instructions No. 4.1 (2016) (modified).
20     Instructions No. 4.1 (2016) (modified).          _____ Given
21     _____ Given                                      _____ Modified
22     _____ Modified                                   _____ Denied
23     _____ Denied
24
25
26
       Plaintiff’s Proposed Instruction                 Defendants’ Proposed Instruction
27     (Redlined)                                       (Redlined)
28
                                  Joint Disputed (Proposed) Jury Instructions
                                      Case No. 2:15-cv-04424-AJG-AJW
                                                     - 25 -
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1      I will now instruct you on the rules you         I will now instruct you on the rules you
2      must follow in deciding whether or not the must follow in deciding whether or not the
3      Defendants have proven that claims of the        Defendants have proven that claims of the
4      Asserted Patents are invalid. A patent           Asserted Patents are invalid. A patent
5      claim is presumed to be valid. To prove          claim is presumed to be valid. To prove
6      that any claim of a patent is invalid, the       that any claim of a patent is invalid, the
7      Defendants must persuade you by clear            Defendants must persuade you by clear
8      and convincing evidence. That is you             and convincing evidence, i.e.,. That is
9      must be left with a clear conviction that        you must be left with a clear conviction
10     the claim is invalid or you must find that       that the claim is invalid or you must find
11     the claim remains valid.                         that the claim isremains valid.
12
13     Authorities: Fed. Cir. Bar Assoc., Model         Authorities: Fed. Cir. Bar Assoc., Model
14     Instructions No. 4.1 (2016) (modified).          Instructions No. 4.1 (2016) (modified).
15     _____ Given                                      _____ Given
16     _____ Modified                                   _____ Modified
17     _____ Denied                                     _____ Denied
18
19
20
21     Plaintiff’s Points and Authorities;
22     A patent is presumed to be valid. 35 U.S.C § 282(a). AIPLA Model Patent Jury
23     Instructions (Preliminary Jury Instructions II.) (2015): “A patent is presumed to be
24     valid. In other words, it is presumed to have been properly granted.”
25
26
       Defendants’ Points and Authorities:
27
28
                                  Joint Disputed (Proposed) Jury Instructions
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                                                     - 26 -
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1      ATEN’s proposal to combine two separate jury instructions will likely confuse the
2      jury. The Federal Circuit Bar Association Model Instruction is sufficiently clear as it
3      stands. Inserting a line from an unrelated jury instruction from a distinct source will
4      make the instruction needlessly complicated. The parties agreed to using the Federal
5      Circuit Bar Association Model Jury Instruction for patent specific issues.
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                                Joint Disputed (Proposed) Jury Instructions
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1                     DISPUTED FINAL JURY INSTRUCTION NO. 32
2                                     UNCLEAN HANDS
3
       Plaintiff’s Proposed Instruction             Defendants’ Proposed Instruction
4      (Text)                                       (Text)
5
                                                    The owner of a patent may be barred from
6      [None]                                       enforcing the patent against an infringer
7
                                                    where the owner of the patent acts or
8
                                                    acted inequitably, unfairly, or deceitfully
9
                                                    towards the infringer or the Court in a
10
                                                    way that has immediate and necessary
11
                                                    relation to the relief that the patent holder
12
                                                    seeks in a lawsuit. This is referred to as
13
                                                    “unclean hands,” and it is a defense that
14
                                                    Defendants contend precludes any
15
                                                    recovery by ATEN in this lawsuit.
16
17
                                                    You must consider and weigh all the facts
18
                                                    and circumstances to determine whether
19
                                                    you believe that, on balance, ATEN acted
20
                                                    in such an unfair way towards Defendants
21
                                                    or the Court in the matters relating to the
22
                                                    controversy between ATEN and
23
                                                    Defendants that, in fairness, ATEN should
24
                                                    be denied the relief it seeks in this lawsuit.
25
                                                    Defendants must prove unclean hands by
26
                                                    a preponderance of the evidence.
27
28
                              Joint Disputed (Proposed) Jury Instructions
                                  Case No. 2:15-cv-04424-AJG-AJW
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1                                                   Authorities: Fed. Cir. Bar Assoc., Model
2                                                   Instructions No. 5.5 (2016).
3                                                   _____ Given
4                                                   _____ Modified
5                                                   _____ Denied
6
7
8      Plaintiff’s Proposed Instruction             Defendants’ Proposed Instruction
       (Redlined)                                   (Redlined)
9
       [None]                                       The owner of a patent may be barred from
10
11                                                  enforcing the patent against an infringer

12                                                  where the owner of the patent acts or

13                                                  acted inequitably, unfairly, or deceitfully

14                                                  towards the infringer or the Court in a

15                                                  way that has immediate and necessary

16                                                  relation to the relief that the patent holder

17                                                  seeks in a lawsuit. This is referred to as

18                                                  “unclean hands,” and it is a defense that

19                                                  Defendants contend precludes any

20                                                  recovery by ATEN in this lawsuit.

21
22                                                  You must consider and weigh all the facts

23                                                  and circumstances to determine whether

24                                                  you believe that, on balance, ATEN acted

25                                                  in such an unfair way towards Defendants

26                                                  or the Court in the matters relating to the

27                                                  controversy between ATEN and

28
                              Joint Disputed (Proposed) Jury Instructions
                                  Case No. 2:15-cv-04424-AJG-AJW
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                                     #:19649


1                                                      Defendants that, in fairness, ATEN should
2                                                      be denied the relief it seeks in this lawsuit.
3                                                      Defendants must prove unclean hands by
4                                                      a preponderance of the evidence.
5
6                                                      Authorities: Fed. Cir. Bar Assoc., Model
7                                                      Instructions No. 5.5 (2016).
8                                                      _____ Given
9                                                      _____ Modified
10                                                     _____ Denied
11
12
13     Plaintiff’s Points and Authorities

14     Plaintiff’s proposal is that no instruction on unclean hands be allowed. Defendants did

15     not raise the issue of unclean hands in either of their Pre-trial Memorandum of

16     Contentions of Fact and Law. [Dkt Nos. 299 and 367]. Accordingly, Defendants

17     should not be permitted to raise this new defense at trial.

18
19     Defendants’ Points and Authorities

20     Defendants’ proposal is to instruct the jury on equitable estoppel. Defendants asserted

21     this affirmative defense in their Answer [Dkt No. 136] and have not waived this

22     affirmative defense. Including this instruction does not prejudice Plaintiffs and will

23     prevent prejudice to Defendants. ATEN’s argument that Defendants’ failed to include

24     this in the Pre-Trial Memorandum of Contentions of Fact and Law is without effect by

25     its similar failure to include its position regarding the “Prima”/“LKV” products as

26     accused products.

27
28
                                 Joint Disputed (Proposed) Jury Instructions
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                                     #:19650


1                     DISPUTED FINAL JURY INSTRUCTION NO. 33.
2                                 EQUITABLE ESTOPPEL
3
4
       Plaintiff’s Proposed Instruction             Defendants’ Proposed Instruction
5      (Text)                                       (Text)
6                                                   The owner of a patent may forfeit its right
       [None]
7                                                   to any relief from an infringer where: (1)

8                                                   the patent holder communicates
9                                                   something in a misleading way to the
10                                                  infringing party about the lack of
11                                                  infringement or about not being sued, (2)
12                                                  the infringer relies upon the misleading
13                                                  communication from the patent holder,
14                                                  and (3) the infringer will be materially
15                                                  harmed if the patent holder is allowed to
16                                                  assert a claim relating to the issue that is
17                                                  inconsistent with the patent holder’s prior
18                                                  misleading communication. This is
19                                                  referred to as an “equitable estoppel” and
20                                                  it is a defense that Defendants contend
21                                                  precludes any recovery by ATEN in this
22                                                  lawsuit. Defendants must prove each of
23                                                  these elements by a preponderance of the
24                                                  evidence, but even if all these elements
25                                                  are proven, equitable estoppel need not be
26                                                  found if such a finding would be unfair in
27                                                  light of the conduct of the parties.
28
                              Joint Disputed (Proposed) Jury Instructions
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1
2                                                  Defendants contend that ATEN made a
3                                                  misleading communication about
4                                                  Defendants’ alleged infringement before
5                                                  ATEN filed this lawsuit. A
6                                                  communication may be made through
7                                                  written or spoken words, conduct, silence,
8                                                  or a combination of words, conduct, and
9                                                  silence. Conduct may include action or
10                                                 inaction. Whether in fact ATEN
11                                                 communicated with Defendants about
12                                                 their alleged infringement prior to the
13                                                 filing of this lawsuit, and whether in fact
14                                                 that communication, if you find there to
15                                                 have been any, was misleading, are
16                                                 questions that must be answered by
17                                                 considering the facts and circumstances as
18                                                 they existed at the time.
19
20                                                 Material harm to Defendants can be
21                                                 evidentiary or economic in form. Whether
22                                                 Defendants suffered evidentiary harm is a
23                                                 question that must be answered by
24                                                 evaluating whether Defendants will be
25                                                 unable to present a full and fair defense on
26                                                 the merits of ATEN’s claim(s). Not being
27                                                 able to present a full and fair defense on
28
                             Joint Disputed (Proposed) Jury Instructions
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1                                                  the merits of ATEN’s claim(s) can occur
2                                                  due to the loss of important records, the
3                                                  death or impairment of an important
4                                                  witness(es), the unreliability of memories
5                                                  about important events because they
6                                                  occurred in the distant past, or other
7                                                  similar types of things. Whether
8                                                  Defendants suffered economic prejudice
9                                                  is a question that must be answered by
10                                                 evaluating whether Defendants changed
11                                                 its economic position as a result of its
12                                                 reliance on any misleading
13                                                 communication from ATEN about
14                                                 Defendants’ alleged infringement,
15                                                 resulting in losses beyond merely paying
16                                                 for infringement (such as if Defendants
17                                                 could have switched to a noninfringing
18                                                 product if sued earlier) and whether losses
19                                                 as a result of any change in economic
20                                                 position could have been avoided.
21
22                                                 Authorities: Fed. Cir. Bar Assoc., Model
23                                                 Instructions No. 5.3 (2016).
24                                                 _____ Given
25                                                 _____ Modified
26                                                 _____ Denied
27
28
                             Joint Disputed (Proposed) Jury Instructions
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1
       Plaintiff’s Proposed Instruction             Defendants’ Proposed Instruction
2      (Redlined)                                   (Redlined)
                                                    The owner of a patent may forfeit its right
3      [None]
                                                    to any relief from an infringer where: (1)
4
                                                    the patent holder communicates
5
                                                    something in a misleading way to the
6
                                                    infringing party about the lack of
7
                                                    infringement or about not being sued, (2)
8
                                                    the infringer relies upon the misleading
9
                                                    communication from the patent holder,
10
                                                    and (3) the infringer will be materially
11
                                                    harmed if the patent holder is allowed to
12
                                                    assert a claim relating to the issue that is
13
14                                                  inconsistent with the patent holder’s prior

15                                                  misleading communication. This is

16                                                  referred to as an “equitable estoppel” and

17                                                  it is a defense that Defendants contend

18                                                  precludes any recovery by ATEN in this

19                                                  lawsuit. Defendants must prove each of

20                                                  these elements by a preponderance of the

21                                                  evidence, but even if all these elements

22                                                  are proven, equitable estoppel need not be

23                                                  found if such a finding would be unfair in

24                                                  light of the conduct of the parties.

25
26                                                  Defendants contend that ATEN made a

27                                                  misleading communication about

28
                              Joint Disputed (Proposed) Jury Instructions
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1                                                  Defendants’ alleged infringement before
2                                                  ATEN filed this lawsuit. A
3                                                  communication may be made through
4                                                  written or spoken words, conduct, silence,
5                                                  or a combination of words, conduct, and
6                                                  silence. Conduct may include action or
7                                                  inaction. Whether in fact ATEN
8                                                  communicated with Defendants about
9                                                  their alleged infringement prior to the
10                                                 filing of this lawsuit, and whether in fact
11                                                 that communication, if you find there to
12                                                 have been any, was misleading, are
13                                                 questions that must be answered by
14                                                 considering the facts and circumstances as
15                                                 they existed at the time.
16
17                                                 Material harm to Defendants can be
18                                                 evidentiary or economic in form. Whether
19                                                 Defendants suffered evidentiary harm is a
20                                                 question that must be answered by
21                                                 evaluating whether Defendants will be
22                                                 unable to present a full and fair defense on
23                                                 the merits of ATEN’s claim(s). Not being
24                                                 able to present a full and fair defense on
25                                                 the merits of ATEN’s claim(s) can occur
26                                                 due to the loss of important records, the
27                                                 death or impairment of an important
28
                             Joint Disputed (Proposed) Jury Instructions
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1                                                     witness(es), the unreliability of memories
2                                                     about important events because they
3                                                     occurred in the distant past, or other
4                                                     similar types of things. Whether
5                                                     Defendants suffered economic prejudice
6                                                     is a question that must be answered by
7                                                     evaluating whether Defendants changed
8                                                     its economic position as a result of its
9                                                     reliance on any misleading
10                                                    communication from ATEN about
11                                                    Defendants’ alleged infringement,
12                                                    resulting in losses beyond merely paying
13                                                    for infringement (such as if Defendants
14                                                    could have switched to a noninfringing
15                                                    product if sued earlier) and whether losses
16                                                    as a result of any change in economic
17                                                    position could have been avoided.
18
19                                                    Authorities: Fed. Cir. Bar Assoc., Model
20                                                    Instructions No. 5.3 (2016).
21                                                    _____ Given
22                                                    _____ Modified
23                                                    _____ Denied
24
25
26     Plaintiff’s Points and Authorities

27     Plaintiff’s proposal is that no instruction on equitable estoppel be allowed. Defendants

28     did not raise the issue of equitable estoppel in either of their Pre-trial Memorandum of
                                Joint Disputed (Proposed) Jury Instructions
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1      Contentions of Fact and Law. [Dkt Nos. 299 and 367]. Accordingly, Defendants
2      should not be permitted to raise this new defense at trial.
3
4
5      Defendants’ Points and Authorities
6      Defendants’ proposal is to instruct the jury on equitable estoppel. Defendants asserted
7      this affirmative defense in their Answer [Dkt No. 136] and have not waived this
8      affirmative defense. Including this instruction does not prejudice Plaintiffs and will
9      prevent prejudice to Defendants. ATEN’s argument that Defendants’ failed to include
10     this in the Pre-Trial Memorandum of Contentions of Fact and Law is without effect by
11     its similar failure to include its position regarding the “Prima”/“LKV” products as
12     accused products.
13
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                                 Joint Disputed (Proposed) Jury Instructions
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1                       DISPUTED FINAL JURY INSTRUCTION NO. 37
2                DATE OF COMMENCEMENT OF DAMAGES - PRODUCTS
3
       Plaintiff’s Proposed Instruction                 Defendants’ Proposed Instruction
4
       (Text)                                           (Text)
5
6
       In determining the amount of damages, In determining the amount of damages,
7
       you must determine when the damages you must determine when the damages
8
       began. Damages commence on the date period began. Damages commence on the
9
       that Defendants has both infringed and date that Defendants have both infringed
10
       been notified of the alleged infringement and been notified of the alleged
11
       of the asserted patents.                         infringement of the Asserted Patents.
12
       The parties agree that the dates are:
13
           ‘287 patent: May 21, 2009                   In this case, there is another consideration.
14
           ‘217 patent: May 21, 2009                   Patent damages cannot commence during
15
           ‘289 patent: December 29, 2009              the term of an existing license agreement.
16
           ‘141 patent: November 19, 2013              Uniclass and ATEN were in a license
17
                                                        agreement until ATEN terminated the
18
                                                        license agreement on May 21, 2014.
19
                                                        Therefore, damages cannot begin before
20
                                                        May 21, 2014.
21
22
                                                        The filing of the complaint in this case
23
                                                        qualified as actual notice too. The filing
24
                                                        of the complaint was August 6, 2014, a
25
                                                        few months after ATEN terminated the
26
                                                        license agreement.
27
28
                                  Joint Disputed (Proposed) Jury Instructions
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                                     #:19658


1                                                  ATEN claims to have provided actual
2                                                  notice of infringement prior to filing of
3                                                  the complaint, which dates its must prove.
4                                                  If ATEN is able to prove that the
5                                                  Defendants had actual notice of
6                                                  infringement prior to the filing of the
7                                                  Complaint, the damages period will start
8                                                  to run at the soonest from the termination
9                                                  date of May 21, 2014.
10
11                                                 If you find that Defendants infringed the
12                                                 Asserted Patents, damages should be
13                                                 calculated as of the following issue dates:
14                                                             ’289 Patent – [either May 21,
15                                                                2014 or August 6, 2014]
16
                                                               ’287 Patent – [either May 21,
17
                                                                  2014 or August 6, 2014]
18
                                                               ’217 Patent – [either May 21,
19
                                                                  2014 or August 6, 2014]
20
                                                               ’141 Patent – [either May 21,
21
                                                                  2014 or August 6, 2014]
22
                                                   Authorities: Fed. Cir. Bar Assoc., Model
23
                                                   Instructions No. 6.8 (2016) (modified).
24
                                                   _____ Given
25
                                                   _____ Modified
26
                                                   _____ Denied
27
28
                             Joint Disputed (Proposed) Jury Instructions
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1
       Plaintiff’s Proposed Instruction                 Defendants’ Proposed Instruction
2      (Redlined)                                       (Redlined)
3      In determining the amount of damages, In determining the amount of damages,
4      you must determine when the damages you must determine when the damages
5      began. Damages commence on the date period began. Damages commence on the
6      that Defendants has both infringed and date that Defendants have both infringed
7      been notified of the alleged infringement and been notified of the alleged
8      of the asserted patents.                         infringement of the Asserted Patents.
9      The parties agree that the dates are:
10         ‘287 patent: May 21, 2009                   In this case, there is another consideration.
11         ‘217 patent: May 21, 2009                   Patent damages cannot commence during
12
           ‘289 patent: December 29, 2009              the term of an existing license agreement.
13
           ‘141 patent: November 19, 2013              Uniclass and ATEN were in a license
14                                                      agreement until ATEN terminated the
15                                                      license agreement on May 21, 2014.
       Authorities: Fed. Cir. Bar Assoc., Model
16                                                      Therefore, damages cannot begin before
       Instructions No. 6.8 (2016) (modified).
17                                                      May 21, 2014.
       _____ Given
18
       _____ Modified
19                                                      The filing of the complaint in this case
       _____ Denied
20                                                      qualified as actual notice too. The filing
21                                                      of the complaint was August 6, 2014, a
22                                                      few months after ATEN terminated the
23                                                      license agreement.
24
25                                                      ATEN claims to have provided actual
26                                                      notice of infringement prior to filing of
27
                                                        the complaint, which dates its must prove.
28
                                  Joint Disputed (Proposed) Jury Instructions
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1                                                    If ATEN is able to prove that the
2                                                    Defendants had actual notice of
3                                                    infringement prior to the filing of the
4                                                    Complaint, the damages period will start
5                                                    to run at the soonest from the termination
6                                                    date of May 21, 2014.
7
8                                                    If you find that Defendants infringed the
9                                                    Asserted Patents, damages should be
10                                                   calculated as of the following issue dates:
11                                                                 ’289 Patent – [either May 21,
12                                                                  2014 or August 6, 2014]
13                                                                 ’287 Patent – [either May 21,

14                                                                  2014 or August 6, 2014]
                                                                   ’217 Patent – [either May 21,
15
                                                                    2014 or August 6, 2014]
16
                                                                   ’141 Patent – [either May 21,
17                                                                  2014 or August 6, 2014]
18
19                                                   Authorities: Fed. Cir. Bar Assoc., Model
20                                                   Instructions No. 6.8 (2016) (modified).
21                                                   _____ Given
22                                                   _____ Modified
23                                                   _____ Denied
24
25
       Plaintiff’s Points and Authorities
26
       Plaintiff has proposed an alternative instruction with damages start dates for the four
27
       patents as follows: (1) May 21, 2009 for the ‘287 patent and the ‘217 patent (both
28
                               Joint Disputed (Proposed) Jury Instructions
                                   Case No. 2:15-cv-04424-AJG-AJW
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1      patents issued earlier than May 2009); (2) December 29, 2009 for the ‘289 patent (date
2      of patent issuance); and (3) November 19, 2013 for the ‘141 patent (date of patent
3      issuance). Nonetheless, Plaintiff does not believe that a damages start date instruction
4      is needed because both parties’ experts already have taken these different damages
5      dates into account. Moreover, as discussed in its Opposition to Defendants’ motion for
6      supplemental briefing [Dkt. 409], Plaintiff argued that Defendants’ motion to limit the
7      damages period to after May 2014 is improper due to the fact that (a) Defendants have
8      raised this issue too late; (b) Defendants’ damages expert, Mr. Cragun, utilized May
9      21, 2009 as the damages start date; (c) a May 2014 damages start date would conflict
10     with the alleged infringement starting in May 2009, (d) it would require a confusing
11     explanation to the jury, which would prejudice ATEN; and (e) violate the Court’s June
12     13, 2017 order precluding references to breach of contract of the May 21, 2009 license
13     agreement. In fact, Defendants’ proposed instruction asserts that ATEN “terminated
14     the License Agreement on May 21, 2014.” ATEN would be prejudiced by this
15     instruction because, without hearing any evidence on Uniclass’ breach of contract, the
16     jury may believe that ATEN unilaterally terminated the License Agreement.
17
18     Defendants’ Points and Authorities
19           Defendants proposed jury instruction limits infringement damages to the period
20     after the license for the patents at issue was terminated. Recovery for royalties arising
21     under breach of contract are not part of this case. The jury must be instructed that
22     ATEN’s recovery for patent infringement (if any) must begin after the termination of
23     the contract to prevent confusion between breach of contract and patent damages or the
24     possibility of ATEN getting a double recovery. As discussed in Defendants’ Motion to
25     File Supplemental Briefing [Dkt. 405], any claim or evidence purporting to entitle
26     Plaintiff to damages between May 2009 and May 2014 requires a breach of contract
27     analysis and is barred by (1) the Court’s Order granting in part the Motion in limine
28
                                 Joint Disputed (Proposed) Jury Instructions
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1      [Dkt. 39]), (2) the venue provision in the License Agreement, (3) the general rule
2      against double recovery. “Generally, the double recovery of damages is
3      impermissible.” Aero Prod. Int'l, Inc. v. Intex Recreation Corp., 466 F.3d 1000, 1017
4      (Fed. Cir. 2006).
5
6
7      Dated: September 12, 2017                      Respectfully submitted,
8                                                     /s/ P. Andrew Riley
                                                      Lei Mei (SBN 240104)
9                                                     mei@meimark.com
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                                                      Attorneys for Plaintiff
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                                                      ATEN INTERNATIONAL CO., LTD.
23
24
25
26
27
28
                                Joint Disputed (Proposed) Jury Instructions
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1                                 CERTIFICATE OF SERVICE
2            The    undersigned    certifies    that   the    foregoing       JOINT   DISPUTED
3      (PROPOSED)        JURY     INSTRUCTIONS               AND     OBJECTIONS       was   filed
4      electronically, and pursuant to Civil L.R. 5-3.2, was served on all interested parties in
5      this action (i.e., served to registered ECF recipients via ECF electronic service) on
6      September 12, 2017.
7
                                        /s/ Lei Mei
8                                       Lei Mei
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                                Joint Disputed (Proposed) Jury Instructions
                                    Case No. 2:15-cv-04424-AJG-AJW
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